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 PS8
 (8/88)
                              UNITED STATES DISTRICT COURT
                                           for
                                      NEW MEXICO

 U.S.A. vs Antonio Carrillo                                  Docket No. 1:19-CR-01991-001KWR




                                Petition for Action on Conditions of Pretrial Release

  COMES NOW Jeffrey Martinez-Spelich PRETRIAL SERVICES OFFICER presenting an official report upon
  the conduct of Antonio Carrillo who was placed under pretrial release supervision by the Honorable Jerry H.
  Ritter, United States Magistrate Judge, sitting in the court at Albuquerque, New Mexico, on June 27, 2019,
  with conditions which included the following:
(1) The defendant must not violate federal, state, or local law while on release.

(7)(l) The defendant must not use alcohol at all.

(7)(r) The defendant must report as soon as possible, to the pretrial services office or supervising officer, every
contact with law enforcement personnel, including arrests, questioning, or traffic stops.

   RESPECTFULLY PRESENTING PETITION FOR ACTION OF COURT AND FOR CAUSE AS FOLLOWS:
According to the Criminal Complaint in Case No. NMSPR2006660, on June 13, 2020, at approximately 5:53 p.m.,
New Mexico State Police in Socorro County, New Mexico were parked at the intersection of State Road 304 and
U.S. Highway 60. Officers observed a gold single cab Chevrolet Pickup Truck approaching the stop sign of the
intersection at a high rate of speed. Officer observed the brake lights turn on and the tires screeching. The truck
stopped past the stop sign in the west bound lane of U.S. Highway 60. Officers engaged their emergency
equipment and conducted a traffic stop approximately 100 yards west of the intersection.

During the traffic stop, while the defendant was searching for his Driver’s License, registration, and insurance,
officers saw a half empty bottle of wine on the seat. Officers asked the defendant how much he had to drink but the
defendant did not answer. Officers noticed the defendant was slurring his words, his eyes were blood shot and
watery, and he smelled of alcohol. The defendant was instructed to step out of the vehicle and as he did so, officers
noticed he had a difficult time maintaining his balance. Officers aided the defendant to the back of the truck to stop
him from falling into traffic. The defendant refused to perform field sobriety tests and he refused to provide a
breath sample.

The defendant was subsequently arrested and transported to the New Mexico State Police Office in Socorro, New
Mexico. The defendant again refused to submit a breath test and was transported to the Socorro General Hospital
where he was medically cleared for incarceration. The defendant was then taken to the Socorro County Detention
Center and booked for Count 1: Open Container; Count 2: Failure to Obey Traffic Control Devices; and Count 3:
Aggravated Driving While Under the Influence of Intoxicating Liquor or Drugs (Refused Testing).
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AN EMERGENCY WARRANT HAS BEEN ISSUED FOR THE DEFENDANT’S ARREST

                                      I declare under penalty of perjury that the foregoing is true and
                                      correct.

                                      Executed on: June 13, 2020




                                             Jeffrey Martinez-Spelich
                                             Senior United States Probation Officer

                                             Place: Albuquerque, New Mexico
